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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


  CORONACIDE, LLC,
         Plaintiff,                                   CASE NUMBER: 8:20-cv-00816


  v.


  WELLNESS MATRIX GROUP,
  INC., and GEORGE TODT,

         Defendants.
                                              /


         PLAINTIFF’S AMENDED CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

         Plaintiff, CoronaCide, LLC, hereby discloses the following:

         1)      the name of each person, attorney, association of persons, firm, law firm,

  partnership, and corporation that has or may have an interest in the outcome of this action —

  including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded

  companies that own 10% or more of a party’s stock, and all other identifiable legal entities

  related to any party in the case:

         CoronaCide, LLC (Plaintiff)
         Dr. Edward Joseph Eyring (Manager of Plaintiff)
         Richard E. Fee, Esq. (Counsel for Plaintiff)
         Kathleen M. Wade, Esq. (Counsel for Plaintiff)
         Fee & Jeffries, P.A. (Counsel for Plaintiff)
         Anton Hopen, Esq. (Counsel for Plaintiff)
         Smith & Hopen, P.A. (Counsel for Plaintiff)
         Wellness Matrix Group, Inc. (Defendant)
         George Todt (Defendant)
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         2)      the name of every other entity whose publicly-traded stock, equity, or debt may

  be substantially affected by the outcome of the proceedings: None known.




         3)      the name of every other entity which is likely to be an active participant in the

  proceedings, including the debtor and members of the creditors’ committee (or twenty largest

  unsecured creditors) in bankruptcy cases: None known.




         4)      the name of each victim (individual or corporate) of civil and criminal conduct

  alleged to be wrongful, including every person who may be entitled to restitution:

         Plaintiff, CoronaCide, LLC



         I hereby certify that, except as disclosed above, I am unaware of any actual or potential

  conflict of interest involving the district judge and magistrate judge assigned to this case, and

  will immediately notify the Court in writing on learning of any such conflict.


  Dated: April 20, 2020                                 s/ Richard E. Fee
                                                        Richard E. Fee




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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 20, 2020, I filed a true and accurate copy of the

  foregoing with the Clerk of the Court by using the CM/ECF system.




                                            s/ Richard E. Fee
                                            Richard E. Fee
                                            Florida Bar No. 813680
                                            Kathleen M. Wade
                                            Florida Bar No. 127965
                                            FEE & JEFFRIES, P.A.
                                            1227 N. Franklin Street
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                                            and

                                            /s/ Anton Hopen
                                            Anton Hopen
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                                            Counsel for Plaintiff,
                                            CoronaCide, LLC




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